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 8                              UNITED STATES DISTRICT COURT
 9                EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
10
11   KIMBERLY BARSAMIAN,                                 Case No. 1:07-cv-00316 OWW/GSA
12                        Plaintiff,                     ORDER RE: DEFENDANT, SOLIS’,
                                                         MOTION IN LIMINE NUMBER 3 TO
13          vs.                                          EXCLUDE WITNESSES FROM THE
                                                         COURTROOM PRIOR TO HIS OR
14   CITY OF KINGSBURG, MARTIN SOLIS,                    HER TESTIMONY
     individually and in his official capacity as a
15   Police Officer for the City of Kingsburg Police
     Department and DOES 1 through 100,
16   inclusive,                                          Date: February 20, 2009
                                                         Time: 11:00 a.m.
17                        Defendants.                    Courtroom: 3
18                                                       Trial: March 3, 2009
19
            The Motion in Limine of Defendant, MARTIN SOLIS, to Exclude Witnesses from
20
21   the Courtroom Prior to His or Her Testimony, came on for hearing before this Court,

22   Attorney Peter Kapetan appearing for Plaintiff, KIMBERLY BARSAMIAN, Attorney Alfred
23   Gallegos appearing for Defendant, CITY OF KINGSBURG, and Attorney Karen L. Lynch
24
     appearing for Defendant, MARTIN SOLIS.            After consideration of the briefs and
25
     arguments of counsel, and all other matters presented to the Court, IT IS HEREBY
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     ///
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28   ///

      ORDER RE: DEFENDANT, SOLIS’, MOTION IN LIMINE NUMBER 3 TO EXCLUDE WITNESSES FROM
                   THE COURTROOM PRIOR TO HIS OR HER TESTIMONY – Page 1
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 1
 2   ORDERED that Defendant, MARTIN SOLIS’, Motion in Limine to Exclude Witnesses
 3
     from the Courtroom Prior to His or Her Testimony is GRANTED.
 4
     DATED: _2/26/2009______
 5
                                                 __/s/ OLIVER W WANGER______
 6                                               UNITED STATES DISTRICT JUDGE
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     ORDER RE: DEFENDANT, SOLIS’, MOTION IN LIMINE NUMBER 3 TO EXCLUDE WITNESSES FROM
                  THE COURTROOM PRIOR TO HIS OR HER TESTIMONY – Page 2
